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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

  In re:                                                 Case No. 20-12377-EEB

  SKLAR EXPLORATION COMPANY, LLC,

  Debtor.                                   Chapter 11
  _______________________________________ _________________________

  In re:                                                 Case No. 20-12380-EEB

  SKLARCO, LLC

  Debtor.                                                Chapter 11

                                                         Jointly Administered Under
                                                         Case No. 20-12377-EEB

           NOTICE OF PERFECTION OF LIENS PURSUANT TO 11 U.S.C. § 546(b)

           Comes now RAPAD Well Service Company Inc. (“RAPAD”), pursuant to 11 U.S.C.

 § 546(b), and provides notice of its perfection, maintenance, and continuation of its statutory liens

 against certain property interest owned by Debtors Sklar Exploration Company, LLC (“SEC”) and

 Sklarco, LLC ( “Sklarco” and together with SEC, the “Debtors”) and certain other interest owners

 (collectively with the Debtors, the “Owners”). In furtherance of this Notice, RAPAD states the

 following:

           1.    The Owners each hold ownership interests in oil and gas wells located in Conecuh

 County and Escambia County, Alabama (collectively, the “Wells”) that are described in more

 detail in the Liens (as defined below).

           2.    SEC acts as operator of the Wells on behalf of the Owners. In that capacity, SEC

 engaged RAPAD to provide well services and materials to the Wells pursuant to a Master Service




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 Agreement dated November 19, 2018 (the “Agreement") a true and correct copy of which is

 attached hereto as Exhibit A.1

            3.       The Agreement entitles RAPAD to interest and costs of collection, including

 attorneys’ fees.

            4.       RAPAD in fact provided the well services and related materials to the subject wells

 thus resulting in the alteration and improvement of the subject properties and improvements

 thereon.

            5.       RAPAD is owed no less than $248,485.00 for the services and materials provided.

 Copies of the outstanding invoices are attached hereto as Exhibit B.

            6.       Alabama law entitles those who have not been paid for services and materials used

 to alter or improve real property to a statutory lien on that property. See ALA. CODE §§ 35-11-210,

 et seq.

            7.       Under Alabama law, the lien arises from the time the services or materials are first

 provided, but remains inchoate until certain steps are taken to perfect the lien which steps include

 (i) recording a verified statement of the lien in the office of the judge of probate of the county in

 which the property is situated; and (ii) filing a lawsuit to perfect the lien. Id.

            8.       RAPAD complied with Alabama by recording its verified statements of liens

 against the Owners’ interests in the Wells in the Offices of the Judges of Probate of Conecuh and

 Escambia Counties, Alabama (the “Liens”). True and correct copies of the Liens are attached

 hereto as Exhibit C.

            9.       Recording of the Liens is permitted under 11 U.S.C. § 362(b)(3) and did not

 constitute a violation of the automatic stay.



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     All exhibits attached hereto are incorporated herein by reference.

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         10.    In addition to recording the Liens, Alabama law requires RAPAD to file a lawsuit

 to perfect the Liens. RAPAD hereby provides this notice in accordance with 11 U.S.C. § 546(b)

 to comply with this statutory requirement. In providing this notice, RAPAD complies with all

 requirements to perfect and maintain the Liens.

         11.    RAPAD claims all rights concerning the tolling of applicable statutes of limitation.

         12.    RAPAD reserves all rights with respect to the Liens including, but not limited to,

 the right to amend or supplement this notice and seeking relief from the automatic stay. RAPAD

 also gives notice that it has, or may be entitled to, additional mechanics’ liens rights to properties

 owned by the Debtors. This notice shall preserve and continue to preserve any and all of RAPAD’s

 rights under 11 U.S.C. §§ 101, et seq., Ala. Code §§ 35-11-210, et seq., and other applicable law.


         Dated: July 8, 2020
                                                /s/ Matthew J. Ochs
                                                Matthew J. Ochs
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                                                -and-

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                                                Attorneys for RAPAD Well Service Company Inc.


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                                  CERTIFICATE OF SERVICE


         I certify that on July 8, 2020, the foregoing was electronically filed with the Court via the

 CM/ECF system. All attorneys and parties identified with the Court for electronic service on the

 record in this case were served by electronic service in accordance with the CM/ECF system on

 the date of filing.


                                               /s/ Jeremy L. Retherford
                                                    Jeremy L. Retherford




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